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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

  CHRISTINE BRYANT on behalf of herself               )
  and all other persons similarly situated, known     )
  and unknown,                                        )
                                                      )
                Plaintiff,                            )      Case No. 1:19-cv-06622
                                                      )
         vs.                                          )      Honorable Virginia M. Kendall
                                                      )
  COMPASS GROUP USA, INC. and 365                     )
  RETAIL MARKETS, LLC,                                )
                                                      )
                Defendants.                           )

                        DECLARATION OF BERNARD K. SCHOTT

       Pursuant to 28 U.S.C. § 1746, I, Bernard K. Schott, declare as follows:

       1.      I submit this Declaration in support of Plaintiff’s Unopposed Motion to Compel

Non-Parties’ Responses to Subpoenas.

       2.      I am an Associate at Werman Salas P.C. Except as noted otherwise, this Declaration

is based on my personal knowledge. If called as a witness to testify to the facts in this Declaration,

I could and would testify to them.

       3.      Attached hereto as Exhibit A-1 is a true and correct copy of the subpoena served

via U.S. First Class Certified Mail to P & P Industries, Inc. Attached hereto as Exhibit A-2 is a

true and correct copy of the executed return receipt from P & P Industries’ registered agent,

acknowledging delivery of the subpoena. Attached hereto as Exhibit A-3 is a true and correct copy

of the conferral letter sent via U.S Mail to P & P Industries’ registered agent on December 23,

2021. To date, P & P Industries has not responded to the subpoena or conferral letter.

       4.      Attached hereto as Exhibit B-1 is a true and correct copy of the subpoena served

via U.S. First Class Certified Mail to HGS USA LLC. Attached hereto as Exhibit B-2 is a true and

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correct copy of the executed return receipt from HGS USA’s registered agent, acknowledging

delivery of the subpoena. Attached hereto as Exhibit B-3 are true and correct copies of conferral

letters sent January 11, 2022 via U.S. Mail to HGS USA’s registered agent and its headquarters.

To date, HGS USA has not responded to the subpoena or conferral letters.

       5.      Attached hereto as Exhibit C-1 is a true and correct copy of the subpoena served

via U.S. First Class Certified Mail to Residential Home Health Illinois, LLC. Attached hereto as

Exhibit C-2 is a true and correct copy of the executed return receipt from Residential Home Health

Illinois’s registered agent, acknowledging delivery of the subpoena. Attached hereto as Exhibit C-

3 is a true and correct copy of the conferral letter sent via U.S. Mail on December 23, 2021 to

Residential Home Health Illinois’s registered agent. To date, Residential Home Health Illinois has

not responded to the subpoena or conferral letter.

       6.      Attached hereto as Exhibit D-1 is a true and correct copy of the subpoena served

via U.S. First Class Certified Mail to Savino Del Bene USA, Inc. Attached hereto as Exhibit D-2

is a true and correct copy of the executed return receipt from Savino Del Bene USA’s registered

agent, acknowledging delivery of the subpoena. Attached hereto as Exhibit D-3 is a true and

correct copy of the conferral letter sent via U.S. Mail on December 23, 2021 to Savino Del Bene

USA’s registered agent. The conferral letter to Savino del Bene’s location in Illinois was returned

as undeliverable. To date, Savino Del Bene USA has not responded to the subpoena.

       7.      Attached hereto as Exhibit E-1 is a true and correct copy of the subpoena served

via U.S. First Class Certified Mail to Sperry Equities LLC. Attached hereto as Exhibit E-2 is a true

and correct copy of the executed return receipt from Sperry Equities’ registered agent,

acknowledging delivery of the subpoena. Attached hereto as Exhibit E-3 is a true and correct copy

of the conferral letter sent via U.S. Mail on December 23, 2021 to Sperry Equities’ registered



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agent. The conferral letter to Sperry Equities’ registered agent was returned as undeliverable. To

date, Sperry Equities has not responded to the subpoena.

       8.      Attached hereto as Exhibit F-1 is a true and correct copy of the subpoena served

via U.S. First Class Certified Mail to The American Bottling Company. Attached hereto as Exhibit

F-2 is a true and correct copy of the executed return receipt from The American Bottling

Company’s registered agent, acknowledging delivery of the subpoena. Attached hereto as Exhibit

F-3 is a true and correct copy of the conferral letter sent via U.S. Mail on December 23, 2021 to

The American Bottling Company’s registered agent. To date, The American Bottling Company

has not responded to the subpoena or conferral letter.

       9.      Attached hereto as Exhibit G-1 is a true and correct copy of the subpoena served

via U.S. First Class Certified Mail to Whelan Security Company. Attached hereto as Exhibit G-2

is a true and correct copy of the executed return receipt from Whelan Security Company’s

registered agent, acknowledging delivery of the subpoena. Attached hereto as Exhibit G-3 is a true

and correct copy of the conferral letter sent via U.S. Mail on December 23, 2021 to Whelan

Security Company’s registered agent. To date, Whelan Security Company has not responded to

the subpoena or conferral letter.

       10.     Attached hereto as Exhibit H-1 is a true and correct copy of the subpoena served

via U.S. First Class Certified Mail to Woodstock Sterile Solutions, Inc. Attached hereto as Exhibit

H-2 is a true and correct copy of the executed return receipt from Woodstock Sterile Solutions’

registered agent, acknowledging delivery of the subpoena. Attached hereto as Exhibit H-3 is a true

and correct copy of the conferral letter sent on December 23, 2021 via U.S. Mail to Woodstock

Sterile Solutions’ registered agent. To date, Woodstock Sterile Solutions has not responded to the

subpoena or conferral letter.



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          11.   Attached hereto as Exhibit I-1 is a true and correct copy of the subpoena served via

U.S. First Class Certified Mail to Bretford Manufacturing, Inc. Attached hereto as Exhibit I-2 is a

true and correct copy of delivery confirmation of the subpoena from USPS, showing delivery to

Bretford Manufacturing’s registered agent. Attached hereto as Exhibit I-3 is a true and correct

copy of the conferral letter sent via U.S. Mail on December 23, 2021 to Bretford Manufacturing’s

registered agent. To date, Bretford Manufacturing has not responded to the subpoena or conferral

letter.

          12.   Attached hereto as Exhibit J-1 is a true and correct copy of the subpoena served via

U.S. First Class Certified Mail to Grupo Antolin Illinois, Inc. Attached hereto as Exhibit J-2 is a

true and correct copy of delivery confirmation of the subpoena from USPS, showing delivery to

Grupo Antolin Illinois’ registered agent. Attached hereto as Exhibit J-3 are true and correct copies

of conferral letters sent via U.S. Mail on December 23, 2021 to Grupo Antolin Illinois’ registered

agent, company headquarters, and company location in Illinois. To date, Grupo Antollin Illinois

has not responded to the subpoena or conferral letters.

          13.   Attached hereto as Exhibit K-1 is a true and correct copy of the subpoena served

via U.S. First Class Certified Mail to Staff Management Solutions LLC. Attached hereto as Exhibit

K-2 is a true and correct copy of the executed return receipt from Staff Management Solutions’

registered agent, acknowledging delivery of the subpoena. Attached hereto as Exhibit K-3 is a true

and correct copy of the conferral letters sent via U.S. Mail on January 11, 2022, to Staff

Management Solutions’ registered agent, company headquarters, and company location in Illinois.

To date, Staff Management Solutions has not responded to the subpoena or conferral letters.

          14.   Attached hereto as Exhibit L-1 is a true and correct copy of the subpoena served

via U.S. First Class Certified Mail to Schlage Lock Company LLC. Attached hereto as Exhibit L-



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2 is a true and correct copy of delivery confirmation of the subpoena from USPS, showing delivery

to the address and individual contact provided by defense counsel for Schlage Lock Company

LLC. Attached hereto as Exhibit L-3 is a true and correct copy of the conferral letter sent via U.S.

Mail on December 23, 2021 to Schlage Lock Company. To date, Schlage Lock Company has not

responded to the subpoena or conferral letter.

       15.     I declare under penalty of perjury that the foregoing is true and correct.




Executed on January 27, 2022

                                                 Bernard K. Schott




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